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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------x
                                                        14 Civ. 7990
IN RE DORIA / MEMON DISC. STORES WAGE &
HOUR LITIG.                                             OPINION AND ORDER

-----------------------------------------x
APPEARANCES:

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Sweet, D . J.



         Defendant Sofiya Doria , as Administrator of the Estate of

Mohammed Doria (the "Estate Defendant") , has moved for the

dismissal of claims brought by Plaintiffs Emmanuel Agyapong 1

    ("Agyapong " ) and Mady Nassoko ( " Nassoko " ) for failure to comply

with a April 12 , 2017 , discovery order (the " Order " ) as

sanctions for failure to comply wit h court orders , either

pursuant to Federal Rule of Civil Procedure 37 or Federal Rule

of Civil Procedure 41(b). The Estate Defendant also seeks

attorneys' fees and costs for bringing the instant motion . For

the reasons set forth below , the motion is granted in part and

denied in part .



Prior Proceedings



        The prior proceedings and underlying allegations of this

long - lasting Fair Labor Standards Act ("FLSA") , 29 U. S . C . § 201,

et seq . , and New York Labor Law ("NYLL " ) case are detailed in

prior opinions of the Court. See In re Doria/Memon Disc. Stores

Wage & Hour Litig. , No . 14 Civ . 7990      (RWS), 2017 WL 4541434



1     The Court assumes the latest correspondence from
Plaintiffs' counsel contains the correct spelling of Agyapong ' s
name . Dkt . No. 353 ; see also Dkt. No. 42 .
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(S.D.N.Y. Oct. 10, 2017)   ("Class Certification Opinion"); In re

Doria/Memon Disc . Stores Wage & Hour Litig., No. 14 Civ . 7990

(RWS), 2016 WL 270080   (S.D.N.Y. Jan. 2 1, 2016)    ("Contempt

Opinion"); Agropong v. Memon, No. 14 Civ. 7990       (RWS) , 2015 WL

5610879 (S.D.N.Y. Sept. 23 , 2015)     ("Conditional Certification

Opinion " ) . Familiarity is assumed. The following proceedings are

recounted for purposes of resolving the instant motion .



     This action was initiated by Plaintiffs on October 4, 2014 .

Dkt. No. 1. On May 14 and May 22 , 2015, Nassoko and Agyapong

filed Consents to Sue, respectively. Dkt. Nos. 18, 42. On June

25, 20 15, Plaintiffs moved for conditional certification of

their FLSA claims , which was granted on September 23, 2015 . See

Conditional Cert . Op ., 2015 WL 5610879, at *2. At that time, the

Court also granted Plaintiffs leave to file an Amended

Complaint, which was filed on December 17, 2015. Dkt. No. 191.



     On March 13, 2017 , the Estate Defendant moved to compel

interrogatory responses from Agyapong and Nassoko. Dkt. No. 274.

On April 12, 2017, the Court granted the Estate Defendant's

compel motion and ordered Agyapong and Nassoko to provide "a

full and complete response, without objections" to Estate

Defendant's First Set of Interrogatories within seven days. Dkt.


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No. 281. The Order further noted that "[f]uture unresponsiveness

to discovery or noncompliance with this Order could lead to

dismissal of their [Agyapong and Nassoko's] claims with

prejudice." Id.



       On October 10, 2017, the Court granted Plaintiffs' motion

for class certification over Plaintiffs' NYLL claims, in

addition to a subclass bring claims under the Wage Theft

Prevention Act, pursuant to Federal Rule of Civil Procedure

23(b) (3). See Class Cert. Op., 2017 WL 4541434, at *2, *9.



       On December 29, 2017, the Estate Defendant moved the

instant motion, which was heard on January 31, 2018. Dkt. No.

337.



       On March 2 and March 7, 2018, the parties wrote the Court

to update that Agyapong had provided interrogatory responses to

the Estate Defendant. Dkt. Nos. 353-54. The parties disagreed as

to whether dismissal was still an appropriate sanction.




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Applicable Standards



     a. Rule 37 (b)



     Federal Rule of Civil Procedure 37(b) provides for the

possibility of sanctions where a party "fails to obey an order

to provide or permit discovery." Fed. R. Civ. P. 37 (b) (2) (A). A

district court has "br oad discretion in fashioning an

appropriate sanction" under Rule 37. Residential Funding Corp.

v. DeGeorge Fin. Corp. , 306 F.3d 99 , 107    (2d Cir . 2002) . One

possible sanction under Rule 37(b) is "dismissing the action or

proceeding in whole or in part." Fed. R. Civ. P . 37 (b) (2) (A) (v).



     When exercising its discretion to dismiss an action, the

Second Circuit has provided factors that " may be useful" to

consider: "(1) the willfulness of the non-compliant party or the

reason for noncompliance;      (2) the efficacy of lesser sanctions;

(3) the duration of the period of noncompliance, and (4) whether

the non-compliant party had been warned of the consequences of .

    noncompliance." Agiwal v . Mid Island Mortg. Corp.,       555 F.3d

298 , 302-03 (2d Cir . 2009)   (quoting Nieves v . City of N.Y., 208

F.R.D. 531, 535 (S .D. N. Y. 2002)) . "Dismissal is a drastic remedy

that should be imposed only in extreme circumstances .


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usually after consideration of alternative, less drastic

sanctions." World Wide Polymers, Inc. v. Shinkong Synthetic

Fibers Corp., 694 F.3d 155, 159 (2d Cir. 2012)          (omission in

original)    ( internal quotation marks omitted)     ( quoting John B.

Hull,    Inc. v. Waterbury Petroleum Prods., Inc., 845 F.2d 1172,

1176 (2d Cir. 1988)). A court must "consider the extent to which

the prevailing party has been prejudiced by the defaulting

party's noncompliance and must ensure that any sanction imposed

is just and commensurate with the failure to comply." Doug's

Word Clocks.com Pty Ltd. v. Princess Int'l, Inc., No. 16 Civ.

7322    (JMF), 2017 WL 4083581, at *5 (S.D.N.Y. Sept. 14, 2017)

(internal citations and quotation marks omitted). However,

dismissal can be "not merely to penalize those whose conduct may

be deemed to warrant such a sanction, but to deter those who

might be tempted to such conduct in the absence of such a

sanction." Agiwal, 555 F.3d at 303 (quoting Nat'l Hockey League

v. Metro. Hockey Club, Inc., 427 U.S. 639, 643 (1976)).



        In addition, Rule 37 provides that, "[i]nstead of or in

addition to the o rders ab o ve, the court must order the

disobedient party, the attorney advising that party, or both to

pay the reasonable expenses, including attorney's fees,          caused

by the failure, unless the failure was substantially justified


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or other circumstances make an award of expenses unjust." Fed.

R. Civ. P. 37 (b) (2) (C).



     b. Rule 41 (b)



     Federal Rule of Civil Procedure 4l(b) provides, in relevant

part, that "[i]f the plaintiff fails to prosecute or to comply

with these rules or a court order , a defendant may move to

dismiss the action or any claim against it." Fed. R. Civ . P.

4l(b). "[A] Rule 4l(b) dismissal remains a harsh remedy to be

utilized only in extreme situations." Lesane v . Hall's Sec.

Analyst, Inc., 239 F. 3d 206 , 209 (2d Cir. 2001)     (internal

quotation marks omitted) . The Second Circuit has stated that

district courts must consider five factors prior to dismissal of

a case:

     (1)  the duration of the plaintiff's failures,       (2)
     whether plaintiff had received notice that further
     delays would result in dismissal,      ( 3) whether the
     defendant is likely to be prejudiced by further delay,
     (4) whether the district judge has take[n] care to
     strik[e]   the   balance   between  alleviating    court
     calendar congestion and protecting a party's right to
     due process and a fair chance to be heard            and
     (5) whether the judge has adequately assessed the
     efficacy of lesser sanctions .


Lesane, 239 F.3d at 209 (quoting Alvarez v . Simmons Mkt.

Research Bureau , Inc., 839 F.2d 930 , 932 (2d Cir . 1988))


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(alterations in original). "Generally, no one factor is

dispositive," and "a district court is not required to discuss

each of the factors on the record." Martens v . Thomann, 273 F . 3d

159, 180 (2d Cir . 2001); see also Dinkins v. Ponte , No. 15 Civ.

6304    (PAE)   (JCF), 2016 WL 4030919 , at *3 (S . D.N.Y. July 26,

2016)    (" [C]ourts need not discuss each factor, though the

reasoning underlying their decisions should be apparent . ") ;

Mahadi v . Johnson Controls , Inc ., No . 02 Civ . 1256 (ILG) , 2003

WL 21244545, at *3 (E . D.N . Y. Apr . 25 , 2003)   (" A court need not

discuss" the relevant factors, "but the record will benefit from

the reasoning of the Court . ") .



        Even a casual reader would observe the substantive

similarities and overlap between Rules 37(b) and 4 l (b). "For

practical purposes , courts have found that the factors to be

addressed in a Rule 41(b) analysis are relevant to an analysis

under 37(b), and there is little distinction between the two . "

Sanders v . Does, No. 05 Civ. 7005 (RJS), 2008 WL 2117261, at *2

( S. D. N. Y. May 15 , 2 0 0 8) .




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The Estate Defendant's Motion is Granted in Part and Denied in Part



     The Estate Defendant seeks the dismissal of Agyapong and

Nassoko's claims against the Estate Defendant in their entirety

as sanctions for their respective failures to observe the Order

and provide interrogatory responses. The Estate Defendant

contends that the non-compliance was willful, that Agyapong and

Nassoko were on notice that failure to comply could lead to

dismissal of their claims yet remained derelict of their Court-

ordered obligations for almost a year, and that any lesser

sanctions would be ineffective. See Estate Defendant's Mem. of

Law in Supp.   ("Estate Def.'s Mem.")      3-5,   Dkt. No.   337. As part

of its sanctions motion, the Estate Defendant also seeks

attorneys'   fees and costs. Id.    6-7.



     Plaintiffs do not contest the Estate Defendant's

fundamental claim that Agyapong and Nassoko failed to comply

with the Order and, until recently, both had outstanding

discovery requests. 2   Rather,    Plaintiffs aver that Agyapong and

Nassoko have been the victims of an intimidation campaign by

non-Estate Defendants since this action has started, which has

2    In the time since the Estate Defendant has made the instant
motion and this Opinion and Order, Agyapong has turned over
responses to the Estate Defendant's interrogatories. Dkt. No.
353. Nassoko has not.

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been a factor in Agyapong and Nassoko's refusal to participate

in discovery. Given that backdrop, Plaintiffs argue either that

it would be appropriate to order no sanctions or, as an

alternative to complete dismissal, a partial dismissal of

Agyapong and Nassoko's opt -in, non-classwide FLSA claims while

sustaining their opt - out classwide claims as absent class

members. See Pls.' Mem. of Law in Opp.        ("Pls.' Mem.")   6-10.



       In support of their lesser sanctions proposal, Plaintiffs

point to Enriquez v. Cherry Hill Mkt. Corp., No. 10 Civ. 5616

(FB)   (MDG), 2012 WL 6641650 (E.D.N.Y. Oct. 22, 2012), report and

recommendation adopted, No. 10 Civ. 5616 ( FB)        (MDG), 2012 WL

6626008   (E.D.N. Y. Dec. 20, 2012). In Enriquez, a collective

action FLSA case in the process of acquiring class certification

of NYLL state la w claims, defendants moved to dismiss claims of

three FLSA opt -in plaintiffs who failed to comply with discovery

requirements. Id., 2012 WL 6641650, at *1. Counsel for the

plaintiffs conceded that the three opt-in plaintiffs willfully

failed to participate in discovery but averred that fear of

retaliation caused the plaintiffs' reticence. Id., 2012 WL

6641650 , at *2. Magistrate Judge Go reasoned that, while lesser

sanctions would not be effective in securing the three




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plaintiffs' compliance with their opt-in discovery obligations,

those same plaintiffs

        should not be precluded from participating in a
        potential class action under state law. There is no
        requirement that a class member in a New York Labor
        Law action opt -in to an FLSA collective action. As
        courts have recognized, employees are often reluctant
        to act affirmatively and opt -in to an action against
        their emp lo yer . It would be unfair to treat the opt-in
        plaintiffs differently than other employees who may
        have chosen not to opt-in to the FLSA action for the
        same reason that these plaintiffs have failed to
        participate.


Id., 2012 WL 6641650, at *3 (internal citations omitted) . The

Enriquez court ultimately recommended only dismissing the three

plaintiffs' opt -in FLSA claims, a report and recommendation

which was adopted in full by the Hon. Frederic Block. Enriquez,

2012 WL 6626008, at *l.



        Following Enriquez, courts in the Second Circuit have

lo oked to and applied Judge Go's reasoning in cases just like

here. See, e.g., Morse v. Alpine Access, Inc., No. 517 Civ. 235

(BKS)    (ATB), 2017 WL 5187744, at *3 (N.D.N.Y. Sept. 26 , 2017)

("Accordingly , this court recommends that Morowitz be dismissed

as a named plaintiff on the state law claims, without prejudice

to her future participation, to the extent the court deems

appropriate, as a class member on state law claims if the Rule

23 class actions are certified."), report and recommendation

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adopted, No. 517 Civ. 235        (BKS)     (ATB), 2017 WL 5186464                 (N.D.N.Y.

Nov. 8, 2017); Ruiz v. Citibank, N.A, No. 10 Civ. 5950                            (KPF)

(RLE), 2014 WL 4635575, at *4         (S.D.N.Y. Aug. 19, 2014)                    ("[I]t

would be unjust to dismiss Plaintiffs' state law claims when

they fail to comply with FLSA discovery while other Plaintiffs

who never opted in to FLSA and never had discovery obligations

imposed upon them through FLSA are not subject to dismissal .

. in line with how other courts within the Circuit have treated

similar situations."); Johnson v. Wave Comm GR LLC, No.                            610 Civ.

346 (DNH)    (ATB), 2013 WL 12137762, at *3 (N.D.N.Y. June 6, 2013)

("Accordingly, this court would recommend that the unresponsive

plaintiff be dismissed as a named plaintiff on the NYLL claims,

without prejudice to his future participation, to the extent the

court deems appropriate, as a class member on these state law

claims if the Rule 23 class actions remains certified."), report

and recommendation adopted, No. 610 Civ. 346 (DNH)                          (ATB), 2013

WL 12137763 (N.D.N.Y. July 1, 2013).



      The situation presented by Agyapong and Nassoko mirrors

Enriquez, and Judge Go's rationale is persuasive. Agyapong and

Nassoko have a "history of ignoring Court orders and deadlines

and refusing to even communicate with their own counsel." Savage

v . Unite Here, No . 0 5 Ci v . 1 0 8 12      ( LT S )   ( DC F) , 2 0 0 7 WL 15 8 4 2 0 6 ,


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at *1 (S .D.N. Y. May 31, 2007); see Dkt. Nos. 277         (detailing

Plaintiffs' counsel's failed attempts to reach Nassoko and

Agyapong at the time of the Estate Defendant's initial motion to

compel), 344    ~   7. Agyapong's last-minute discovery responses,

while recognized, does not ameliorate concerns raised by long-

lasting, willful non-compliance that he will continue to be

delinquent in his obligations. See S. New England Tel. Co. v.

Glob. NAPs Inc.,      624 F.3d 1 23 , 149 (2d Cir. 2010)   (citation

omitted)     (observing that "plaintiff's hopelessly belated

compliance should not be accorded great weight"). The many

months o f delay have "prejudiced not only the defendants in

their ability to mount a timely and cost-effective defense to

the action, but also the other plaintiffs by delaying their

action for civi l relief." Johnson, 2013 WL 121 37 7 62 , at *3 .

Taken together, "no lesser sanctions than dismissal" is proper.

Ruiz, 2014 WL 4635575, at *6; see Dungan v. Donahue, No. 1 2 Civ.

5139 (ILG)    (RLM) , 2014 WL 2941240, at *4 - *6 & n.2    (E .D.N.Y. June

30 , 2014)   (dismissing an action under Rules 37(b) and 41(b) when

plaintiff himself provided no excuse for failing to comply with

court orders for over four months). Nevertheless, "[i]t would be

unjust to dismiss Plaintiffs' state law claims when they fail to

comply with FLSA discovery while other Plaintiffs who never




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opted in to FLSA and never had discovery obligations imposed

upon them through FLSA are not subject to dismissal." Id.



      The Enriquez court's Solomonic solution provides the

appropriate relief between these competing interests.

Accordingly, this Court agrees with the reasoning already

adopted by others in the circuit and concludes that, pursuant to

Rules 37(b) and 41(b), a just and appropriate sanction in such

circumstances is to dismiss only Nassoko and Agyapong's non-

classwide opt-in claims. Nassoko and Agyapong may, however, stay

in the certified class action and maintain their classwide

claims.



      Lastly, the Estate Defendant seeks attorneys'            fees and

costs under Rule 37 (b) (2) (C) . "Although the Second Circuit has

never explicitly held that the payment of expenses pursuant to

Rule 37 (b) (2) (C)   is mandatory, the burden is on the violator to

show that there was a substantial justification for the

violation, or that circumstances would make it unjust to award

reasonable expenses to the moving party." Kizer v . Abercrombie &

Fitch Co., No . 12 Civ. 5387     (JS)        (AKT), 2016 WL 5338537, at *2

(E.D.N.Y. Sept. 23, 2016). Plaintiffs contend that it would be

unjust to award monetary sanctions against employees who


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presently they are being paid below minimum wage at stores run

by relatives of the Estate Defendant and who, because of this

lawsuit, are in constant fear of losing their employment. See

Pls.' Mem. 10; see Declaration of Joseph Kofie dated January 10,

2018 , Dkt. No. 343. For the following reasons, the request is

denied.



     As a preliminary matter, were any expense sanctions to be

awarded, it could only reasonably be against Agyapong and

Nassoko. The record shows that Plaintiffs' counsel have been

diligent in trying to reach opt-in Plaintiffs and furnish the

required discovery, and even the Estate Defendant argues that it

was the "non-compliant plaintiffs" who "dis obeyed" the Order.

Estate Def.'s Mem. 7; see Gordon v. Kaleida Health, No. 08 Civ.

378S (F), 2013 WL 2250431, at *7        (W.D.N.Y. May 21, 2013)

("However, as the record supports that the failure to provide

discovery in compliance with the court's [order] cannot fairly

be attributed to any lack of diligence or other fault by

Plaintiffs' counsel, the court finds that such expenses .

are solely attributable to the unresponsive opt-in Plaintiffs,

and not Plaintiffs' counsel."); Fed. R. Civ. P. 37 (b) (2) (C)

(allowing a court to order "disobedient party, the attorney

advising that party, or both" to pay expenses).


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        At this point in the action-with a class certified and

neither Agyapong nor Nassoko assigned as Class Representatives-

Agyapong and Nassoko are, functionally-speaking, absent class

members who have chosen to opt-in to the FLSA action. See Class

Cert. Op ., 2017 WL 4541434, at *9. FLSA actions are intended to

"en courage entry into the suit by affected employees" and

"designed to protect a vu lnerable part of the work force[;]"

courts "should be reluctant to punish individuals who initially

decide to join and then back out ." Colella v . N.Y.C. Transit

Auth ., No. 12 Civ. 6041     (GBD)    (MHD), 2014 WL 7967835, at *7

(S . D.N . Y. Dec . 2 , 2014), report and recommendation adopted in

part , No. 12 Civ . 6041    (GBD)    (MHD) , 2015 WL 906168   (S . D. N.Y .

Mar . 3, 2015); Shahriar v. Smith & Wolensky Restaurant Grp.,

Inc.,    659 F.3d 234, 243-44   (2d Cir . 2011)   (describing the need

to limit roadblocks in the way of plaintiffs who may be hesitant

to assert their rights under the FLSA). A further sanction of

fees and costs would discourage involvement such action and

cautions away from granting the Estate Defendant's request .



        Moreover, while not condoning the behavior of delinquent

opt-in Plaintiffs like Agyapong and Nassoko, to order such an

award against plaintiffs alleging minimum wage violation , on top


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of the already seri ous sanction of dismissing some of their

claims, would amount to a "disproportionately severe sanction."

Luiken v. Domino's Pizza LLC, No. 09 Civ. 516 (DWF)        (AJB), 2009

WL 4723296, at *6 (D . Minn. Dec. 2 , 2009)    (rejecting award of

expense sanctions in part because plaintiff was a "Domino's

Pizza delivery person"); see, e.g., Davenport v. Charter

Commc'ns, LLC, No. 12 Civ. 7 (AGF), 20 16 WL 5371575, at *3 (E.D.

Mo. Sept. 26 , 2016)   ("[T]he Court finds that such an award would

be unjust, particularly on top of the already harsh sanction of

dismissal with prejudice."); Dinkel v. Medstar Health Inc., 304

F.R.D. 339, 348   (D.D.C. 2014)   (quoting Luiken and stating that

finding " costs against a delinquent opt -in plaintiff in an FLSA

collective action .     . would be 'unjust'").



     Lastly, as at least one court has observed, the Estate

Defendant's "motion can properly be deemed to fit within Rule

41(b) , which does not have the same presumptive fee-shifting

requirement as Rule 37 ." Colella, 2014 WL 7967835, at *7

(collecting cases). This, too, counsels against an award of fees

and costs.




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•
          Taken together, an expense award under these circumstances

    would be "unjust," and the request is denied. Fed. R. Civ. P.

    37 (b) (2) (C)




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4   I   I



        Conclusion



             For the foregoing reasons , the Estate Defendant ' s motion is

        granted in part and denied in part . Agyapong and Nassoko's opt -

        in claims are dismissed , but sanctions are denied as to t h e

        dismissal of Agyap o ng and Nassoko ' s c l asswide c l aims and the

        Estate Defendant ' s request for attorneys '   fees and costs.



             It is so o rdered .




        March/ r
        New York, NY
                  2018




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